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                              EXHIBIT 3
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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION


    ALEKSEJ GUBAREV,
    XBT HOLDINGS S.A., and
    WEBZILLA, INC.                                                        Case No.
      Plaintiffs,
                                                                     0:17-cv-60426-UU
    v.

    BUZZFEED, INC. and
    BEN SMITH
      Defendants.


                   PLAINTIFFS’ FIRST REQUEST FOR PRODUCTION OF
                DOCUMENTS AND THINGS TO DEFENDANT BUZZFEED, INC.

          Plaintiffs, by and through undersigned counsel, and pursuant to Federal Rule of Civil
   Procedure 34, hereby propound the following First Request for Production of Documents and
   Things to Defendant Buzzfeed, Inc., to produce and make available for inspection and
   duplication, in response to each numbered paragraph, all documents specified herein that are in
   Defendant’s possession, custody or control or in the possession, custody or control of its agents
   or attorneys. Defendant is requested to make such production within thirty (30) days from the
   date of service. Defendant is requested to make production electronically. If Defendant elects to
   produce in physical form, Defendant is requested to make production to Ciampa Fray-Witzer,
   LLP, 20 Park Plaza, Suite 505, Boston, MA 02116.
                                                Definitions
          (1)     The term “you” and “your” and “Buzzfeed” means the Defendant Buzzfeed, Inc.,
   its subsidiaries and parent companies, including each of their respective officers, directors,
   employees, agents, and all other persons acting or purporting to act on their behalf.
          (2)     The term “Ben Smith” means the Defendant Ben Smith, including his agents, and
   all other persons acting or purporting to act on their behalf.
          (3)     The term “Plaintiffs” means all the Plaintiffs in this action.
          (4)     The term “Gubarev” means the Plaintiff Aleksej Gubarev.
          (5)     The term “XBT” means the Plaintiff XBT Holdings S.A.

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          (6)     The term “Webzilla” means the Plaintiff Webzilla, Inc.
          (7)     The term “Defendants” means Buzzfeed and Ben Smith, as defined above.
          (8)     The term “Dossier” means the document file embedded in and referenced in the
   article Buzzfeed published on January 10, 2017 entitled “These Reports Allege Trump Has Deep
   Ties to Russia,” referenced in the Complaint in this matter.
          (9)     The term “communication” means any statement or utterance, whether written or
   oral, made by on person to another, or in the presence of another, or any document delivered or
   sent from one person to another.
          (10)    The term “concerning” means consisting of, referring to, reflecting or in any way
   logically or factually connected with the matter discussed. A document “concerning” a given
   subject is any document identifying, showing, referring to, dealing with evidencing, commenting
   upon, having as a subject, describing, summarizing, analyzing, explaining, detailing, outlining,
   defining, interpreting, or pertaining to that subject, including without limitation, documents
   referring to the presentation of other documents.
          (11)    “Or” shall mean and/or;
          (12)    The term “documents” means all writings or graphic matter or other means of
   preserving thought or expression of any kind, including the originals and all identical copies,
   whether different from the original by reasons of any notation made on such copies or otherwise
   including, without limitation, e-mails, letters, text messages, social media messages,
   correspondence, memoranda, notes, diaries, studies, checks, statements, receipts, returns,
   summaries, pamphlets, books, prospectuses, interoffice and intraoffice telephone calls, meetings
   or other communications, bulletins, printed matter, computer printouts, teletypes, telefax,
   invoices, worksheets, photographs, contracts, computer data, hard drives, correspondence,
   transcripts, schedules, affidavits, graphs, videotapes, tape recordings, motions pictures or other
   films (and all drafts, alternations, modifications, changes and amendments of any of the
   foregoing). It shall also include any electronically stored data on any media.
          (13)    The term “all documents” means every document as above defined known to you
   and every such document, which can be located or discovered by reasonably diligent efforts,
   whether in electronic format or in physical format.
          (14)    The term “person” means any natural person, corporation, partnership,
   proprietorship, association, organization, or group of natural persons.

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                                               Instructions
          (1)     All documents shall be produced as they are kept in the usual course of business
   or shall be organized and labeled to correspond with the numbered paragraphs of these Requests.
          (2)     If no documents are responsive to a particular category, you should state so in
   writing.
          (3)     When producing the documents, please keep all documents segregated by the file
   in which the documents are contained and indicate the name of the file in which the documents
   are contained and the name of the documents being produced.
          (4)     With respect to each document or thing which is withheld, whether under claim of
   privilege, work product, or otherwise, provide the following information with sufficient
   particularity to allow counsel to evaluate the claim of privilege:
                  (i)     the date, identity and general subject matter of the document or thing, and
          the grounds asserted in support of the failure to produce the document or thing;
                  (ii)    the identity of each person (other than stenographic or clerical assistants)
          participating in the preparation of the document or thing;
                  (iii)   the identity of each person to whom the contents of the document or thing
          was communicated orally, by copy, by distribution, reading or substantial summarization;
                  (iv)    a description of any document or other material transmitted with or
          attached to the document or thing;
                  (v)     the number of pages in the document;
                  (vi)    the particular Request(s) (and subpart(s)) to which the document or thing
          is responsive; and
                  (vii)   whether any business or non-legal matter is contained or discussed in the
          document or thing.
          (5)     With respect to each document or thing which has been lost or destroyed since its
   preparation or receipt, identify the thing or document, state the particular request or requests to
   which it would otherwise be responsive, and set forth in detail the circumstances of the loss or
   destruction thereof.
          (6)     If you object to responding to only part of a Request, specify the part to which
   you object and respond to the remainder.
          (7)     These Requests are continuing and you are requested to promptly supplement the

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   documents produced and/or objections made if you obtain additional information or documents
   requested.
                                                Requests
          Request No. 1.          All internal communications referencing, reflecting, or concerning
   the Dossier.
          Request No. 2.          All internal communications referencing, reflecting, or concerning
   the publication of the dossier including, but not limited to, discussions concerning the decision to
   publish the Dossier.
          Request No. 3.          All communications with any person (including third-parties)
   referencing, reflecting, or concerning the Dossier.
          Request No. 4.          All communications with any person (including third-parties)
   referencing, reflecting, or concerning the publication of the Dossier including, but not limited to,
   discussions referencing, reflecting, or concerning the decision to publish the Dossier.
          Request No. 5.          All internal communications referencing, reflecting, or concerning
   the amount of traffic or number of hits to the Buzzfeed.com website, any Buzzfeed mobile
   platform, or any Buzzfeed social media accounts, resulting from the publication of the Dossier
   and/or any article referencing or incorporating the Dossier.
          Request No. 6.          All documents referencing, reflecting, or concerning the amount of
   traffic generated or received on Buzzfeed.com as a result of the publication of the Dossier and/or
   any article referencing or incorporating the Dossier.
          Request No. 7.          All documents referencing, reflecting, or concerning the amount of
   traffic generated or received on social media accounts owned or operated by Buzzfeed as a result
   of the publication of the Dossier and/or any article referencing or incorporating the Dossier.
          Request No. 8.          All documents referencing, reflecting, or concerning the amount of
   traffic generated or received on Buzzfeed’s mobile platform as a result of the publication of the
   Dossier and/or any article referencing or incorporating the Dossier.
          Request No. 9.          All documents referencing, reflecting, or concerning the traffic or
   number of hits to the Buzzfeed.com website, any Buzzfeed mobile platform, or any Buzzfeed
   social media accounts for the time period from October 1, 2016 through April 30, 2017
   (including documents showing such information to the utmost granularity available).
          Request No. 10.         All internal communications concerning revenue generated by the

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   publication of the Dossier and/or any article referencing or incorporating the Dossier.
          Request No. 11.         All documents referencing, reflecting, or concerning revenue
   generated by the publication of the Dossier and/or any article referencing or incorporating the
   Dossier.
          Request No. 12.         All internal communications referencing, reflecting, or concerning
   advertising revenue as it relates to publication of the Dossier and/or any article referencing or
   incorporating the Dossier.
          Request No. 13.         All documents referencing, reflecting, or concerning the revenue
   generated by Buzzfeed from October 1, 2016 through April 30, 2017 (including documents
   showing such information to the utmost granularity available).
          Request No. 14.         All press reports referencing, reflecting, or concerning Buzzfeed’s
   publication of the Dossier.
          Request No. 15.         All documents that identify the IP addresses of all computers
   utilized by Buzzfeed, Ben Smith, Ken Bensinger, Mark Schoofs, and/or Miriam Elder.
          Request No. 16.         All documents referencing, reflecting, or concerning
   communications between Buzzfeed and any of the Plaintiffs.
          Request No. 17.         All documents referencing, reflecting, or concerning attempts
   made by Buzzfeed to reach the Plaintiffs by telephone, email, skype, or any other method of
   communication.
          Request No. 18.         All document referencing, reflecting, or concerning Buzzfeed’s
   advertising rates from 2015 to the present.
          Request No. 19.         All documents referencing, reflecting, or concerning articles
   authored by Ben Smith (in any medium or publication) concerning the publication of the Dossier
   and/or any article referencing or incorporating the Dossier.
          Request No. 20.         All video or audio recordings of Ben Smith in which he discusses
   the publication of the Dossier and/or any article referencing or incorporating the Dossier.
          Request No. 21.         All documents referencing, reflecting, or concerning articles
   authored by Ben Smith (in any medium or publication) concerning media ethics.
          Request No. 22.         All documents referencing, reflecting, or concerning speaker fees
   received by Ben Smith from January 1, 2016 to the present.
          Request No. 23.         All documents referencing, reflecting, or concerning media

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   appearances by Ben Smith concerning publication of Dossier and/or any article referencing or
   incorporating the Dossier.
          Request No. 24.         All communications with investors and potential investors of
   Buzzfeed concerning the publication of the Dossier including, but not limited to, the decision to
   publish the Dossier and/or any article referencing or incorporating the Dossier.
          Request No. 25.         All communications (specifically excluding communications with
   counsel) referencing, reflecting, or concerning the present litigation.
          Request No. 26.         All internal communications referencing, reflecting, or concerning
   Gubarev, XBT, or Webzilla.
          Request No. 27.         All communications with any person (including third-parties)
   referencing, reflecting, or concerning Gubarev, XBT, or Webzilla.
          Request No. 28.         All documents referencing, reflecting, or concerning Gubarev,
   XBT, or Webzilla.
          Request No. 29.         All documents referencing, reflecting, or concerning how
   Buzzfeed received the Dossier, from whom it received the Dossier, and to whom it circulated the
   Dossier.
          Request No. 30.         All documents referencing, reflecting, or concerning sources
   contacted in connection with the Dossier and reporting on the Dossier.
          Request No. 31.         All notes from reporters, editors, and/or fact-checkers referencing,
   reflecting, or concerning the Dossier and reporting on the Dossier.
          Request No. 32.         All drafts of stories referencing, reflecting, or concerning the
   Dossier.
          Request No. 33.         All drafts of stories referencing, reflecting, or concerning Gubarev,
   XBT, or Webzilla.
          Request No. 34.         All editorial meeting notes referencing, reflecting, or concerning
   the Dossier and/or reporting on the Dossier.
          Request No. 35.         All recordings of interviews or phone calls made in connection
   with reporting concerning the Dossier.
          Request No. 36.         All documents reflecting payments to sources concerning reporting
   on the Dossier.
          Request No. 37.         All documents referencing, reflecting, or concerning Buzzfeed’s

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   efforts to prove or disprove assertions concerning Plaintiffs in the Dossier.
             Request No. 38.      All documents referencing, reflecting, or concerning meetings
   between any person working for or on behalf of Buzzfeed, on the one hand, and Christopher
   Steele, on the other.
             Request No. 39.      All documents referencing, reflecting, or concerning meetings
   between any person working for or on behalf of Buzzfeed, on the one hand, and any person
   working for or on behalf of Fusion GPS, on the other.
             Request No. 40.      All documents referencing, reflecting, or concerning meetings
   between any person working for or on behalf of Buzzfeed, on the one hand, and any person
   working for or on behalf of Orbis Business Intelligence on the other.
             Request No. 41.      All documents referencing, reflecting, or concerning
   communications between any person working for or on behalf of Buzzfeed, on the one hand, and
   Christopher Steele, on the other.
             Request No. 42.      All documents referencing, reflecting, or concerning
   communications between any person working for or on behalf of Buzzfeed, on the one hand, and
   any person working for or on behalf of Fusion GPS, on the other.
             Request No. 43.      All documents referencing, reflecting, or concerning
   communications between any person working for or on behalf of Buzzfeed, on the one hand, and
   any person working for or on behalf of Orbis Business Intelligence on the other.
             Request No. 44.      All documents referencing, reflecting, or concerning Christopher
   Steele.
             Request No. 45.      All documents referencing, reflecting, or concerning Fusion GPS.
             Request No. 46.      All documents referencing, reflecting, or concerning Orbis
   Business Intelligence.
             Request No. 47.      All documents that support or refute Buzzfeed’s assertion that the
   Dossier is a government document.
             Request No. 48.      All documents that support or refute Buzzfeed’s assertion that the
   Dossier was the subject of official government activity.
             Request No. 49.      All documents referencing, reflecting, or concerning
   communications between any person working for or on behalf of Buzzfeed, on the one hand, and
   the United States Government (or any person part of the United States Government, including,

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   without limitation, any person(s) in the executive branch or legislative branch), on the other
   hand, referencing, reflecting, or concerning the Plaintiffs.
             Request No. 50.      All documents referencing, reflecting, or concerning
   communications between any person working for or on behalf of Buzzfeed, on the one hand, and
   the United States Government (or any person part of the United States Government, including,
   without limitation, any person(s) in the executive branch or legislative branch), on the other
   referencing, reflecting, or concerning the Dossier.
             Request No. 51.      All communications with government officials concerning the
   Dossier or reporting on the Dossier.
             Request No. 52.      All documents referencing, reflecting, or concerning assignments
   to reporters, fact-checkers, or other employees or contractors in any way relating to the reporting
   on the allegations concerning the Plaintiffs contained in the Dossier.
             Request No. 53.      Current audited financial statements for Buzzfeed and any of its
   subsidiaries for the years 2016 to present.
             Request No. 54.      All documents referencing, reflecting, or concerning profit/loss for
   Buzzfeed and any of its subsidiaries for the years 2016 to the present.
             Request No. 55.      All handbooks or written guidelines provided to Buzzfeed’s
   reporters that govern ethical standards for reporting at Buzzfeed.
             Request No. 56.      The Dossier in the form as originally received by Buzzfeed.
             Request No. 57.      To the extent not already covered by the previous requests, all
   documents and things identified in Defendants’ Initial Rule 26(a)(1) Disclosures in this
   Litigation.
             Request No. 58.      All documents that Buzzfeed intends to offer into evidence at the
   trial in this matter.
             Request No. 59.      The resume of any expert witness you have retained or consulted
   with in connection with this litigation, whether or not you expect to call him at a trial of this
   matter.
             Request No. 60.      All documents provided to any expert witness in this matter.
             Request No. 61.      All documents that you reviewed in preparing your answers to all
   Interrogatories served in this matter.



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    Respectfully Submitted:
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    Attorneys for Plaintiffs




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                                          Certificate of Service
           I hereby certify that a true and correct copy of the foregoing was served electronically via
    email on all counsel or parties of record on the service list below on this 9th day of June, 2017.
                                                          /s/ Matthew Shayefar
                                                          Matthew Shayefar

                                               Service List

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